           Case 3:24-cv-01106-CVR Document 57 Filed 04/24/24 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO



 BERKEY INTERNATIONAL, LLC,                             Civil No. 3:24-cv-01106-CVR

                       Plaintiff,
                v.

 ENVIRONMENTAL PROTECTION
 AGENCY, et al.

                       Defendants.




       DEFENDANTS’ NOTICE OF LODGING THE CERTIFIED INDEX OF THE
                  ADMINISTRATIVE RECORD CONTENTS

       Defendants, U.S. Environmental Protection Agency (“EPA”), Michael S. Regan, in his

official capacity as Administrator, EPA, Christine Tokarz in her official capacity as an employee

of EPA, and David Cobb in his official capacity as an employee of EPA (“Defendants”) hereby

provide notice of the certification of the Administrative Record for EPA’s issuance of a Stop

Sale, Use, or Removal Order (“SSURO”) to Berkey International, LLC (“Plaintiff”) on May 8,

2023. As detailed in the attached declaration and index, the certified index of the Administrative

Record contents filed with the Court today reflects those documents considered directly or

indirectly by Defendants in connection with the issuance of the SSURO to Plaintiff.

       Defendants will deliver a copy of the full Administrative Record to Plaintiff through a

manner agreed on by the party, and will provide a copy to the Court in whatever form the Court

prefers.



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         Case 3:24-cv-01106-CVR Document 57 Filed 04/24/24 Page 2 of 2




Dated: April 17, 2024

                                                     /s/ Shari Howard
                                               Shari Howard
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                                               Counsel for Defendants




                                    Certificate of Service

      I certify that on April 17, 2024, I filed the foregoing with the Court’s CMS/ECF system,
which will notify each party.

                                                        /s/ Shari Howard
                                                   Shari Howard




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